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                                                                    Page 1
                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                         WEST PALM BEACH DIVISION
                       CASE No.: 9:21-CV-81565-DMM
     _______________________________________________________
     WILLIAM DAVID WILCOX JR. a/k/a DAVID WILCOX, an
     individual, and MEGAN DANIELLE LUCHEY, an individual,
                  Plaintiffs,
     v.
     LA PENSEE CONDOMINIUM ASSOCIATION, INC., a Florida
     Not-For-Profit Corporation; MARY MCFADDEN, an
     individual; MAC RESIDENTIAL MANAGEMENT SERVICES, LLC, a
     Florida Limited Liability Company; and DAVID WOLFF a/k/a
     DAVID WOLF, an individual,
               Defendants.
     ________________________________________________________

                             REMOTE DEPOSITION
                                       OF
                                MEGAN LUCHEY


                   Taken on behalf of the Defendants


                        Date Taken:     May 4, 2022
                        Time:           9:30 a.m.



          Examination of the witness taken via Zoom before:
                   Emily Scott, stenographic reporter
                         United Reporting, Inc.
                           1218 SE 3rd Avenue
                     Fort Lauderdale, Florida 33316



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                                                                  Page 13
   1       A.     No.
   2       Q.     You've never sued anybody?
   3       A.     In state court.
   4       Q.     Okay.    Do you know how many lawsuits in state
   5 court you have filed?
   6       A.     No.
   7       Q.     Was it more than one?
   8       A.     Probably.
   9       Q.     More than three?
  10        A.    I'm not sure.
  11       Q.     Okay.    Have you ever filed a domestic violence
  12 complaint against anybody?
  13        A.    No.
  14       Q.     So your testimony is you've never filed a
  15 domestic violence complaint against Mr. Wilcox?
  16        A.    I have not.
  17              On March 31st, someone, using my identity,
  18 filed a civil petition for an injunction for protection
  19 against dating violence with the Palm Beach County Court
  20 against David Wilcox.        This was not me.
  21              David Wilcox was served with that fraudulent
  22 petition on April 5th, 2022, at our home.
  23              I referred the matter for criminal
  24 investigation.       I have never been a victim of any
  25 violence by David Wilcox, nor have I made any statements


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                                                                  Page 14
   1 of the same; and, again, the statements and allegations
   2 contained in that petition are not mine.
   3              Per the advice of counsel, I will not be
   4 commenting on -- any further on that matter.
   5              MR. STARKS:     Mr. Israel, this is Michael
   6        Starks.
   7              MR. ISRAEL:     Yeah.
   8              MR. STARKS:     I move to strike that answer.
   9        She is clearly reading from another screen.
  10              MR. ISRAEL:     Correct.
  11              That's a prepared answer, and I fully agree.
  12        I wanted her to finish her answer.
  13              I am entitled to ask you about that filing.
  14        If your counsel wants to object, then so be it.
  15 BY MR. ISRAEL:
  16        Q.    So did your counsel prepare that statement for
  17 you?
  18        A.    I have --
  19              MR. LUBLINER:     Hold on.
  20              I'm going to object and instruct her not to
  21        answer.
  22              MR. ISRAEL:     You have --
  23              MR. MARCHESE:     Hang on.
  24              This is Andrew Marchese for the association.
  25              On what basis are you instructing her not to


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                                                                 Page 185
   1       A.     Two.
   2       Q.     Do you know how much the dogs weigh?
   3       A.     No, you would have to ask him; but, I mean, I
   4 would say about 40 pounds.
   5       Q.     Together or each?
   6       A.     Each.
   7       Q.     And how big is Zeus?
   8       A.     You have the video, about 70 pounds.
   9       Q.     Okay.
  10        A.    Two 40-pound aggressive dogs.
  11              When an animal is aggressive, weight doesn't
  12 matter as much.       Zeus was scared.
  13       Q.     Okay.    Did they do anything to Zeus?
  14        A.    They attempted to.      David was able to get in
  15 the middle in time.
  16       Q.     I see.
  17              They didn't touch Zeus, correct?
  18        A.    Correct.
  19       Q.     Did they bite Mr. Wilcox?
  20        A.    No.
  21       Q.     Is this an incident where Mr. Wilcox was
  22 waiting with Zeus at the elevator, and the door opened,
  23 and the dog came out?        Is that the incident you are
  24 referring to, or is this another incident?
  25        A.    No, this is the incident when the dogs lunged


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